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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                Chapter 11

    AGSPRING, LLC, et al.,1                               Case No. 23-bk-10699 (CTG)

              Debtors.                                    Jointly Administered


                            STATEMENT UNDER RULE 2016 OF THE
                         FEDERAL RULES OF BANKRUPTCY PROCEDURE

             Dentons US LLP (“Dentons US”), pursuant to Rule 2016 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”) and section 329 of chapter 11 of title 11 of the

United States Code (the “Bankruptcy Code”), states that the undersigned is proposed counsel to

the above-captioned debtors and debtors in possession (the “Debtors”) in these cases. It further

states:2

             1.    The Debtors have agreed to pay Dentons US for the legal services that have been

or will be rendered by its various attorneys, paralegals, and case management assistants in

connection with these cases on the Debtors’ behalf. The Debtors have also agreed to reimburse

Dentons US for its actual and necessary expenses incurred in connection with these cases. Dentons

US has received payments from the Debtors in the amount of $358,072.06 prior to the Petition

Date in connection with the preparation of initial documents and its prepetition representation of

the Debtors in connection therewith. Dentons US is current as of the Petition Date, but has not yet




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 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Agspring, LLC (7735); Agspring Idaho 1 LLC (1720); Agspring Idaho LLC (8754); FO-ND LLC, dba
Firebrand Artisan Mills (1520); Agspring Logistics LLC, dba Agforce (6067); and Agspring Idaho 2 LLC (9262). The
Debtors’ mailing address is 5101 College Boulevard, Leawood, KS 66211.
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  Capitalized terms, unless otherwise defined herein, shall have the meanings ascribed to them in the Application
Pursuant to Section 327(a) of the Bankruptcy Code, Rule 2014 of the Federal Rules of Bankruptcy Procedure and
Local Rule 2014-1 for Authorization to Employ and Retain Dentons US LLP as Counsel for the Debtors and Debtors
in Possession Effective as of the Petition Date.
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completed a final reconciliation as of the Petition Date. Upon final reconciliation of the amount

actually expended prepetition, any balance remaining from the payments to Dentons US will be

credited to the Debtors and utilized as Dentons US’s retainer to apply to postpetition fees and

expenses pursuant to the compensation procedures approved by this Court.

        2.      Dentons US will seek approval for payment of compensation by filing the

appropriate applications for allowance of interim or final compensation pursuant to sections 330

and 331 of the Bankruptcy Code, the Bankruptcy Rules, the Local Rules of the United States

Bankruptcy Court for the District of Delaware, and orders of this Court. The filing fees for the

Debtors have been paid in full.

        3.      The services to be rendered include all those services set forth in the Application

Pursuant to Section 327(a) of the Bankruptcy Code, Rule 2014 of the Federal Rules of Bankruptcy

Procedure and Local Rule 2014-1 for Authorization to Employ and Retain Dentons US LLP as

Counsel for the Debtors and Debtors in Possession Effective as of the Petition Date, submitted

concurrently herewith.

        4.      Dentons US further states that it has neither shared nor agreed to share (a) any

compensation it has received or may receive with another party or person, other than with the

partners, of counsel, and associates of Dentons US, or (b) any compensation another person or

party has received or may have received.




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Dated: July 28, 2023                 PACHULSKI STANG ZIEHL & JONES LLP


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                                     -and –

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                                     -and-

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                                     Proposed Counsel for Debtors and Debtors in
                                     Possession




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